Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page1lof14 Pageid#: 48

AO 440 (Rey. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

LUKE WILSON,
Plaintiffs)
¥v.

 

Civil Action No. 3:21-CV-00055

__THE TOWN OF MOUNT JACKSON, et al. _

Defendant(s)

Nome’ Nome Samet” Sener! Name! emma!” Minuet” Nome!” Snemee” “amet! ager! Same!

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Jeff Sterner, Chief of Police
Mount Jackson Police Department
75 Main Street
Mt. Jackson, Virginia 22842

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Thomas R. Breeden, Esquire .

Thomas R. Breeden, PC
10326 Lomond Drive
Manassas, Virginia 20109

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No. 5:21-CV-00055

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for fname of individual and title, if any)

 

was received by me on (date)

Date:

O I personally served the summons on the individual at (piace)

 

On (date; > Or

 

I I left the summons at the individual’s residence or usual place of abode with (name) .

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 1 served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
| returned the summons unexecuted because ,or
I Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page 3o0f14 Pageid#: 50

AO 440 (Rev. 06/12} Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

LUKE WILSON,

Plaintiffts)
Vv.

 

Civil Action No, 5:21-CV-00055

__ THE TOWN OF MOUNT JACKSON, et al.

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address} Keith Cowart, Sergeant
Mount Jackson Police Department
75 Main Street
Mt. Jackson, Virginia 22842

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Thomas R. Breeden, Esquire

Thomas R. Breeden, PC
10326 Lomond Drive
Manassas, Virginia 20109

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 5:21-CV-00055

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for /xame of individual and title, if any)

 

was received by me on (date)

Date:

I personally served the summons on the individual at (place)

 

On (date) ; or

 

© 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

CF | served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (rame of organization)

 

 

 

On (date) 5; or
O I returned the summons unexecuted because Lor
CO) Other ¢specifv):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page5of14 Pageid#: 52

AO 440 (Rev. 06/12} Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

LUKE WILSON,

 

Plaintiff(s)

Vv. Civil Action No, 5:21-CV-00055

THE TOWN OF MOUNT JACKSON, et al. _
Defendant(s)

Nea nee ee Net ee nee ee Ne enme Nimee”nmet”S”

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Robert Young, Officer
Mount Jackson Police Department
75 Main Street
Mt. Jackson, Virginia 22842

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Thomas R. Breecen, Esquire

Thomas R. Breeden, PC
410326 Lomond Drive
Manassas, Virginia 20109

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2}

 

Civil Action No. 5:24-CV-00055

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title, if any)

 

was received by me on (date)

Date:

[I personally served the summons on the individual at (place)

 

 

on {date} : or

Ct | left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

[1 } served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
 T returned the summons unexecuted because :or
O Other (pecify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page 7 of14 Pageid#: 54

AO 440 (Rev. 066/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

LUKE WILSON,

Plaintiff(s)
¥.

 

Civil Action No. 5:21-CV-00055

__ THE TOWN OF MOUNT JACKSON, et al.
Defendant(s}

Some” Samm Nee” eee” Samrat” Seer’ Sper “tpee’ Steet” Magee Sener!” See”

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Christina Whorton, Officer
Mount Jackson Police Department
75 Main Street
Mt. Jackson, Virginia 22842

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Thomas R. Breeden, Esquire

Thomas R. Breeden, PC
10326 Lomond Drive
Manassas, Virginia 20109

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature af Clerk or Deputy Clerk

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page 8of14 Pageid#: 55

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No. 5:21-CV-00055

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date}

[4 I personally served the summons on the individual at fplace)

 

on (date) ; or

 

(1 I left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
© lreturned the summons unexecuted because : or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page9of14 Pageid#: 56

AO 440 (Rev. 66/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

LUKE WILSON,

 

Plaintiffs)

v. Civil Action No. 5:21-CV-00055

THE TOWN OF MOUNT JACKSON, et al. _
Defendant(s}

Nem Nm Somme Semel Somme Neem” See See See re eee eee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Mark Johnson Officer
Mount Jackson Police Department
75 Main Street
Mt. Jackson, Virginia 22842

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a}(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose nae and address are: Thomas R. Breeden, Esquire

Thomas R. Breeden, PC
10326 Lomond Drive
Manassas, Virginia 20109

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2}

 

Civil Action No. 5:21-CV-00055

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (ame of individual and title, if any)

 

was received by me on (dare)

C1 I personally served the summons on the individual at (place)

 

on (date) ; Or

 

CF {i ieft the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

O [served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
1 1 returned the summons unexecuted because ; or
Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
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AG 440 (Rev. 06/12} Summons ina Ctvil Action

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

LUKE WILSON,

Plaintiff(s)
¥.

 

Civil Action No. 5:21-CV-00055

_ THE TOWN OF MOUNT JACKSON, etal
Defendani{s)

Nee ee ee ee ee ee et et ae ee ee

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address} Mr. Todd Holtzman
5534 North Main Street
Mt. Jackson, Virginia 22842

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a}(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Thomas R. Breeden, Esquire

Thomas R. Breeden, PC
10326 Lomond Drive
Manassas, Virginia 20109

If you fail to respond, judgment by default wil! be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _

 

Signature af Clerk or Deputy Clerk

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page 12o0f14 Pageid#: 59

AO 440 (Rev. 06/12} Summons ina Civil Action (Page 2)

 

Civil Action No. 5:21-C\V-00055

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

C1 I personally served the summons on the individual at (place)

 

on date} ; or

 

| left the summons at the individual’s residence or usual place of abode with fname)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; Or
© | returned the summons unexecuted because 5 or
O Other (specif):
My fees.are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page 13o0f14 Pageid#: 60

AO 440 (Rev. 06/12} Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

LUKE WILSON,

 

Plaintiff{s)

Vv. Civil Action No. 5:21-CV-00055

__ THE TOWN OF MOUNT JACKSON, etal.
Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Corporate Representative
Holtzman Oil Company
5534 North Main Sireet
Mt. Jackson, Virginia 22842

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose naine and address are: Thomas R. Breeden, Esquire

Thomas R. Breeden, PC
10326 Lomond Drive
Manassas, Virginla 20109

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk

 
Case 5:21-cv-00055-TTC Document 2 Filed 09/20/21 Page 14o0f14 Pageid#: 61

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2}

 

Civil Action No, 5:21-CV-G0055

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title, if any)

 

was received by me on (date)

CF 1 personally served the summons on the individual at (place)

 

On (date) ; or

 

(7 | beft the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

onl (date) , and mailed a copy to the individual’s last known address; or

FT served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization}

 

 

 

on (date) ; Or
M } returned the summons unexecuted because ,or
O Other (specifi):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

Server’s signature

 

Printed name and title

 

Server 's address

Additional information regarding attempted service, etc:

 
